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 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11                                                      No. 2:23-cv-02342-TLN-KJN
      IN RE: STEVEN WAYNE BONILLA
12                                                      No. 2:23-cv-02343-TLN-KJN

13                                                      No. 2:23-cv-02344-TLN-KJN

14                                                      No. 2:23-cv-02345-TLN-KJN

15                                                      No. 2:23-cv-02346-TLN-KJN

16                                                      No. 2:23-cv-02364-TLN-KJN

17                                                      No. 2:23-cv-02365-TLN-KJN

18                                                      No. 2:23-cv-02366-TLN-KJN

19                                                      No. 2:23-cv-02367-TLN-KJN

20                                                      No. 2:23-cv-02368-TLN-KJN

21                                                      ORDER

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23

24          Plaintiff Steven Wayne Bonilla is a state prisoner proceeding without counsel in the

25   above-captioned civil actions. On November 29, 2018, the Court declared Plaintiff a vexatious

26   litigant and ordered the Clerk of the Court not to file or assign a civil case number to any

27   proposed habeas corpus petition or civil action related to Plaintiff’s criminal conviction in

28   Alameda County. (See Bonilla v. Fresno County, Case No. 2:18-cv-2544-TLN-KJN, ECF No.
                                                        1
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 1   13). On June 14, 2023, the Court modified its vexatious litigant Order and directed the Clerk of

 2   the Court to open a new case for each attempted new case pleading and assign it to the

 3   undersigned and Magistrate Judge Kendall J. Newman. (Id. at ECF No. 26). If the Court

 4   determines the new filing is related to Plaintiff’s Alameda County criminal conviction, the case

 5   will be ordered dismissed and closed. (Id.)

 6          The Court has reviewed the complaints/petitions filed in the above-captioned cases and

 7   finds they are related to Plaintiff’s Alameda County criminal conviction.

 8          Accordingly, the complaints/petitions in Case Nos 2:23-cv-02342, 2:23-cv-02343, 2:23-

 9   cv-02344, 2:23-cv-02345, 2:23-cv-02346, 2:23-cv-02364, 2:23-cv-02365, 2:23-cv-02366, 2:23-

10   cv-02367 and 2:23-cv-02368 are hereby DISMISSED. The Clerk of the Court is directed to close

11   these cases. No further filings will be accepted.

12          IT IS SO ORDERED.

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             Dated:    December 18, 2023
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17                                                           Troy L. Nunley
                                                             United States District Judge
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